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UNITED STATES DISTRICT COURT

for the .

Western District of Virginia

 

United-States of America )
v. )

} Case No. 3:23-MJ-26
Tyler Bradley Dykes )
Defendant )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: US District Court- District of Columbia via ZOOM

 

Place

(see conditions for ZOOM dial-in instruction)

 

on 8/1/2023 1:00 pm

 

Date and Time
If blank, defendant will be notified of next appearance.
(5) lv |t he defendant promises to appear in court as required and surrender to serve any sentence imposed.
(6) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

. twenty-five thousand and no cents dollars ($ 25,000.00 ) in the event of a
failure to appear as required or surrender to serve any sentence imposed.

$25K. Unsecured
 

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ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(CJ) (6) The defendant is placed in the custody of:
Person or organization

 

Address (only if above is an organization)

City and state oe Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

Custodian "Date
(YJ) (7) The defendant must:
(f¥]) (a) submit to supervision by and report for supervision to the _US Probation Office at 1849 Paris Avenue, Port Royal, SC 29935
telephone number 843-489-3163 .no later than Monday, 7/24/2023 at 1:00pm . # 2
(M]) (b) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property: $2ddé-Un
((.)) (c) post with the court the following proof of ownership of the designated property, or the following amount or percentage of the above-
described sum:
(LJ) (d) continue or actively seek employment.
) (e) continue or start an education program.
(M]) (f) surrender any passport to: supervising officer -
(JZ) (g) not obtain a passport or other international travel document. nd np phliwrtdfytnredl Add eal
((¥]) (h) abide by the following restrictions on personal association, residence, or travel: Defendant may travel to the District of Columbia by the most direct ae

route for court appearances, attomey mectings, and anything else related to his case there. Otherwise, he is not allowed to be in the District of Columbia.

 

 

 

 

 

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(MM) (i) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: Defendant is not to have any contact with the Southern Sons Active Club, or other related groups. No direct contact, indirect contact, email contact or phone

contact is permitted.

(1) G) get medical or psychiatric treatment:

 

 

(Oo) &) return to custody each at _ o'clock after being released at _ o’clock for employment, schooling,
or the following purposes:

 

(1) () maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

( {4 ) (m) not possess a firearm, destructive device, or other weapon, Typuetmno le Aimed [one Ease: ls Ye /

(M1) (n) notuse alcohol ( [1] )atall( [YJ ) excessively. ods

(M4) (0) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner,

(1) (p) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
of prohibited substance screening or testing.

(() (q) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

(M1) () participate in one of the following location restriction programs and comply with its requirements as directed.

(f¥]) (i) Curfew. You are restricted to your residence every day ( ) from 6:30pm to 7:30am ,or ( ) as
directed by the pretrial services office or supervising officer; or

(C)) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(CJ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court; or

(( ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However, you
must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.

 
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ADDITIONAL CONDITIONS OF RELEASE

submit to the following location monitoring technology and comply with its requirements as directed:

(() ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or

(O ) Gi) Voice Recognition; or

(D0 ) (iii) Radio Frequency; or

(1) (iv) GPS.

pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
officer.

report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

the defendant shall follow the instructions of the pretrial supervising officer.

the defendant shall not incur new credit charges or open additional lines of credit without the approval of the supervising officer.
submit to warrantless search and seizure of person and property as directed by supervised officer.

not frequent places where controlled substances are illegally sold, used, distributed, or administered, and shall not associate with any

persons engaged in criminal activity or associate with any person convicted of a felony, unless under the supervision of law enforcement.
Defendant is to live at the home of his parents at Sweet Pea Place, Bluffton SC, or such other place as approved by his supervising officer.

 

 

Defendant will have state and federal probation officers, and must be responsive to both. Defendant is to have contact with his federal probation officer no less than once a

 

week or as directed.

 

(x) (bb) Defendant is to appear by ZOOM in the US District Court for the District of Columbia on n August 1, 2023 at
1:00pm before Judge Upadhyaya. Dial in information is as follows:

a

https://uscourts-ded.zoomgov.com/j/160598 1 178?pwd=c VNSUS9DMzJSN WFLNjhGemZmSU 1odz09
Meeting ID: 160 598 1178
Passcode: 717744

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207) 367 _ 23960 We Yuresurn
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ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

 

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.

__ Yule AF ows Clerk Qiyol dD fy

Defendant's Signature

Bluffton, SC

City and State

Directions to the United States Marshal

( ) The defendant is ORDERED released after processing.

( [.)) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified.

Date: g 4023 : =
/ Judicial OfficeF’s Signature

Bh wr S. BAtlon UsShC_

Printed name and title

 

DISTRIBUTION: COURT DEFENDANT  PRETRIALSERVICE U.S.ATTORNEY U.S. MARSHAL
